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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                     EUGENE DIVISION

 UNITED STATES OF AMERICA,                                 6:21-mc-1298

        Plaintiff,

        v.                                                 UNOPPOSED MOTION TO
                                                           EXTEND 90-DAY PERIOD
 2018 TESLA X SEDAN VIN:                                   PURSUANT TO
 5YJXCAE24JF126905, ITS                                    18 U.S.C. § 983(a)(3)(A)
 ITS TOOLS AND APPURTENANCES,
 and 2013 LEXUS RX450H SUV, VIN:
 JTJBC1BA5D2450522, ITS TOOLS
 AND APPURTENANCES, in rem,
        Defendants.

       Pursuant to Local Rule 7-1, counsel for the United States certifies that I have contacted

Jason Thompson, attorney for claimant Yongkang Chen, who concurs with this extension.

       On September 15, 2021, Yongkang Chen filed a claim in a non-judicial civil forfeiture

proceeding by the Drug Enforcement Administration to the 2018 Tesla X Sedan and the 2013

Lexus RX450h SUV seized from Yongkang Chen on or about March 17, 2021.

       No other person filed a claim in the administrative forfeiture proceeding.

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       As provided in 18 U.S.C. § 983(a)(3)(A), the United States and Yongkang Chen, agree to

extend the time in which the United States will file a complaint for forfeiture against the 2018

Tesla X Sedan and the 2013 Lexus RX450h SUV or to obtain an indictment alleging that the

assets are subject to forfeiture. Yongkang Chen agrees that the deadline by which the United

States shall be required to file a complaint for forfeiture against the property and/or to obtain an

indictment alleging that the property is subject to forfeiture shall be extended to Monday, March

14, 2022.

       Yongkang Chen agrees that until the United States files a complaint for forfeiture against

the assets and/or obtains an indictment alleging that the assets are subject to forfeiture, or until

March 14, 2022, or until the parties reach a settlement regarding the property, whichever occurs

first, the property shall remain in the custody of the United States and Yongkang Chen shall not

seek its return for any reason in any manner.

DATED: December 1, 2021                                Respectfully submitted,

                                                       SCOTT E. ASPHAUG
                                                       Acting United States Attorney

                                                       s/ Judith R. Harper
                                                       JUDITH R. HARPER
                                                       Assistant United States Attorney




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                               CERTIFICATE OF SERVICE



       I hereby certify that I have made service of the foregoing Motion to Extend 90-Day Period

and a proposed Order on the party herein by sending via email on December 1, 2021 to:

Jason Thompson
jason@thompsonlawllc.com
 Attorney for claimant Yongkang Chen



                                                   s/Dawn Susuico
                                                   DAWN SUSUICO
                                                   Paralegal
